Case 3:21-cv-05327-RSM Document 1-1 Filed 05/03/21 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

STEPHEN CHRISTOPHER WRIGHT, ) —,
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Plaintiff, +) o = 8
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v ) Case No. KH Ss Be
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Kim Grisham, ) “w= “2
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Defendant. )}
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Plaintiff's Complaint

Comes now the Plaintiff pursuant for relief from damages arising as a result from

deprivation of rights pursuant 42 U.S.C. § 1983.

I. Parties

. The Plaintiff is Stephen Wright, a citizen of Clallam County Washington.
2. The Defendant is Kim Grisham, a resident of Hot Springs Arkansas.

li. Venue and Jurisdiction

Venue is proper pursuant to 28 U.S. Code § 1391 (b)(2).
Jurisdiction is proper pursuant to 42 U.S.C. § 1983.

Ill. History

The Defendant falsely entered into the Arkansas Office of Child Support system information
regarding a non-existent court order for Plaintiff to pay monies from which supposedly
originated from Garland County Arkansas, to pay Arkansas, for the benefit of Melissa Oaks, aka
“Mellisa Oaks”. The case named FD-2014-51 was referenced but is in fact a dismissed case from

Oklahoma with Mellisa Oaks.

Page 1 of 2
Case 3:21-cv-05327-RSM Document 1-1 Filed 05/03/21 Page 2 of 3

The Plaintiffs monies were withheld as a result of this error.
The Defendant continues to utilize dismissed and misrepresented court orders to continue to
place an offset against the Plaintiff through the IRS.

The Plaintiff has had monies taken without any right to dispute.
The Defendant deprived the Plaintiff of his right to substantive due process that is protected by
the Fourteenth Amendment to the United States Constitution by interfering with the due

process laid out in obtaining a judgement against Plaintiff.

IV. Relief

WHEREFORE the plaintiff prays the court will

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wef
Stephen Wright

Fine the Defendant $25,000.

Order the return of the Plaintiff’s $600.

Order the Defendant to remove IRS offset.

Order the Defendant to close the Plaintiff’s case.

Order a restraining order preventing the Plaintiff from further entering applicant “Melissa Oaks”
as “Mellisa Oaks” into Arkansas systems.

 

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1161 Bogachiel Way,
Forks, WA, 98331.

Page 2 of 2
Case 3:21-cv-05327-RSM Document 1-1 Filed 05/03/21 Page 3 of 3

4/21/2019 Welcome to Arkansas OCSE MyCase Website

MyHome Case Dashboard Case Summary

My Home ce sens
“Pe Case ID: 367533618 CP:MELLISAQAKS NCP: STEPHENWRIGHT Case Status: Open _Child(ren): KJAND oO
ly Personal
Case Information Close
My Payments
My Case(s) Case Summary
367533618 oo. .
Other Party: MELLISA The recent events are highlights of actions taken on your case. There may be other events not shown that have occurred on
OAKS your case.
Inbox
Case § Any past due child support or judgment amounts are calculated on the last business day of the previous month and based on
ummary your most recent court order on record.
Appointments

Your case is currently open and your support order is being enforced. OCSE has your address on file. Information can be mailed
ta your local office, HOT SPRINGS OCSE, at 2228 ALBERT PIKE RD STE H, HOT SPRINGS, AR, 71913-4089, or faxed to

(501) 321-1581. For questions, you can call (501) 321-1561.

Forms and Notices

Recent Events on My Case

On 07/18/2018, this case was opened.
On 10/28/2018, information for the noncustodial parent of this case was submitted for the Passport Denial Program.

On 04/14/2019, information for the noncustodial parent of this case was submitted for the Federal Tax Refund Offset
Program. However, the state reserves the right to retain any intercepted amount for any debt owed to the State.

Support Order Details

County Name Docket NO Start Date
GARLAND COUNTY COURTHOUSE 2/1/2014

Financial Details

Type Category Frequency Amount Past Due Amount
CHILD SUPPORT JUDGMENT MONTHLY $50.00 $8,916.60
CHILD SUPPORT SUPPORT MONTHLY $337.22 $10,791.04

Accessibility | Privacy Policy

https:/Avww.ark.arg/Mycase/UpdateCaseSummary.aspx

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